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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                ED CR No.5:22-cr-00216-SSS

14             Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                              KEVIN SUMMERS
15                    v.

16   KEVIN SUMMERS,

17             Defendant.

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20              This constitutes the plea agreement between KEVIN SUMMERS

21   (“defendant”) and the United States Attorney’s Office for the Central

22   District of California (the “USAO”) in the above-captioned case.

23   This agreement is limited to the USAO and cannot bind any other

24   federal, state, local, or foreign prosecuting, enforcement,

25   administrative, or regulatory authorities.

26                              DEFENDANT’S OBLIGATIONS

27              Defendant agrees to:

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 1              a.    Give up the right to indictment by a grand jury and,

 2   at the earliest opportunity requested by the USAO and provided by the

 3   Court, appear and plead guilty to a one-count information, in the

 4   form attached to this agreement as Exhibit A or a substantially

 5   similar form, that charges defendant with concealment and retention

 6   of stolen government property in excess of $1,000 in violation of 18

 7   U.S.C. § 641.

 8              b.    Not contest facts agreed to in this agreement.

 9              c.    Abide by all agreements regarding sentencing contained

10   in this agreement.

11              d.    Appear for all court appearances, surrender as ordered

12   for service of sentence, obey all conditions of any bond, and obey

13   any other ongoing court order in this matter.

14              e.    Not commit any crime; however, offenses that would be

15   excluded for sentencing purposes under United States Sentencing

16   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

17   within the scope of this agreement.

18              f.    Be truthful at all times with the United States

19   Probation and Pretrial Services Office and the Court.

20              g.    Pay the applicable special assessment at or before the

21   time of sentencing unless defendant has demonstrated a lack of

22   ability to pay such assessments.

23              h.    At or before the time of sentencing, make a

24   prejudgment payment by delivering a certified check or money order to

25   the Fiscal Clerk of the Court in the amount of $3,479.20 to be

26   applied to satisfy defendant’s anticipated criminal debt.            Payments

27   may be made to the Clerk, United States District Court, Fiscal

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 1   Department, 255 East Temple Street, Room 1178, Los Angeles,

 2   California 90012.

 3              i.    Defendant agrees that any and all criminal debt

 4   ordered by the Court will be due in full and immediately.            The

 5   government is not precluded from pursuing, in excess of any payment

 6   schedule set by the Court, any and all available remedies by which to

 7   satisfy defendant’s payment of the full financial obligation,

 8   including referral to the Treasury Offset Program.

 9              j.    Complete the Financial Disclosure Statement on a form

10   provided by the USAO and, within 30 days of defendant’s entry of a

11   guilty plea, deliver the signed and dated statement, along with all

12   of the documents requested therein, to the USAO by either email at

13   usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

14   Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

15   Angeles, CA 90012.     Defendant agrees that defendant’s ability to pay

16   criminal debt shall be assessed based on the completed Financial

17   Disclosure Statement and all required supporting documents, as well

18   as other relevant information relating to ability to pay.

19              k.    Authorize the USAO to obtain a credit report upon

20   returning a signed copy of this plea agreement.

21              l.    Consent to the USAO inspecting and copying all of

22   defendant’s financial documents and financial information held by the

23   United States Probation and Pretrial Services Office.

24                              THE USAO’S OBLIGATIONS

25              The USAO agrees to:
26              a.    Not contest facts agreed to in this agreement.
27              b.    Abide by all agreements regarding sentencing contained
28   in this agreement.

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 1               c.   At the time of sentencing, provided that defendant

 2   demonstrates an acceptance of responsibility for the offense up to

 3   and including the time of sentencing, recommend a two-level reduction

 4   in the applicable Sentencing Guidelines offense level, pursuant to

 5   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

 6   additional one-level reduction if available under that section.

 7               d.   Except for criminal tax violations (including

 8   conspiracy to commit such violations chargeable under 18 U.S.C.

 9   § 371), not further criminally prosecute defendant for violations of

10   18 U.S.C. § 641 arising out of defendant’s conduct described in the

11   agreed-to factual basis set forth in paragraph 14 below.            Defendant

12   understands that the USAO is free to criminally prosecute defendant

13   for any other unlawful past conduct or any unlawful conduct that

14   occurs after the date of this agreement.         Defendant agrees that at

15   the time of sentencing the Court may consider the uncharged conduct

16   in determining the applicable Sentencing Guidelines range, the

17   propriety and extent of any departure from that range, and the

18   sentence to be imposed after consideration of the Sentencing

19   Guidelines and all other relevant factors under 18 U.S.C. § 3553(a).

20               e.   Recommend that defendant be sentenced to a term of

21   imprisonment no higher than the low end of the applicable Sentencing

22   Guidelines range, provided that the offense level used by the Court

23   to determine that range is 12 or higher and provided that the Court

24   does not depart downward in offense level or criminal history

25   category.   For purposes of this agreement, the low end of the

26   Sentencing Guidelines range is that defined by the Sentencing Table

27   in U.S.S.G. Chapter 5, Part A.

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 1                               NATURE OF THE OFFENSE

 2              Defendant understands that for defendant to be guilty of

 3   the crime charged in count one, that is, concealment and retention of

 4   stolen government property in excess of $1,000, in violation of Title

 5   18, United States Code, Section 641, the following must be true:

 6   First, defendant knowingly concealed and retained property of value;

 7   second, the property belonged to the United States; third, the

 8   defendant knew that the property had been stolen; fourth, the

 9   defendant intended to convert the property to his own use or gain;

10   and fifth, the value of the property was more than $1,000.

11                            PENALTIES AND RESTITUTION

12              Defendant understands that the statutory maximum sentence
13   that the Court can impose for a violation of Title 18, United States
14   Code, Section 641 is: ten years’ imprisonment; a three-year period of
15   supervised release; a fine of $250,000 or twice the gross gain or
16   gross loss resulting from the offense, whichever is greatest; and a
17   mandatory special assessment of $100.
18              Defendant understands that defendant will be required to
19   pay full restitution to the victim of the offense to which defendant
20   is pleading guilty.     Defendant agrees that, in return for the USAO’s
21   compliance with its obligations under this agreement, the Court may
22   order restitution to persons other than the victim of the offense to
23   which defendant is pleading guilty and in amounts greater than those
24   alleged in the count to which defendant is pleading guilty.            In
25   particular, defendant agrees that the Court may order restitution to
26   any victim of any of the following for any losses suffered by that
27   victim as a result: (a) any relevant conduct, as defined in U.S.S.G.
28   § 1B1.3, in connection with the offense to which defendant is

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 1   pleading guilty; and (b) any charges not prosecuted pursuant to this

 2   agreement as well as all relevant conduct, as defined in U.S.S.G.

 3   § 1B1.3, in connection with those charges.         The parties currently

 4   believe that the applicable amount of restitution is approximately

 5   $3,479.20, but recognize and agree that this amount could change

 6   based on facts that come to the attention of the parties prior to

 7   sentencing.

 8              Defendant understands that supervised release is a period
 9   of time following imprisonment during which defendant will be subject
10   to various restrictions and requirements.         Defendant understands that
11   if defendant violates one or more of the conditions of any supervised
12   release imposed, defendant may be returned to prison for all or part
13   of the term of supervised release authorized by statute for the
14   offense that resulted in the term of supervised release, which could
15   result in defendant serving a total term of imprisonment greater than
16   the statutory maximum stated above.
17              Defendant understands that, by pleading guilty, defendant
18   may be giving up valuable government benefits and valuable civic
19   rights, such as the right to vote, the right to possess a firearm,
20   the right to hold office, and the right to serve on a jury. Defendant
21   understands that he is pleading guilty to a felony and that it is a
22   federal crime for a convicted felon to possess a firearm or
23   ammunition.    Defendant understands that the conviction in this case
24   may also subject defendant to various other collateral consequences,
25   including but not limited to revocation of probation, parole, or
26   supervised release in another case and suspension or revocation of a
27   professional license.     Defendant understands that unanticipated
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 1   collateral consequences will not serve as grounds to withdraw

 2   defendant’s guilty plea.

 3        9.    Defendant and his counsel have discussed the fact that, and

 4   defendant understands that, if defendant is not a United States

 5   citizen, the conviction in this case makes it practically inevitable

 6   and a virtual certainty that defendant will be removed or deported

 7   from the United States.      Defendant may also be denied United States

 8   citizenship and admission to the United States in the future.

 9   Defendant understands that while there may be arguments that

10   defendant can raise in immigration proceedings to avoid or delay

11   removal, removal is presumptively mandatory and a virtual certainty

12   in this case.    Defendant further understands that removal and

13   immigration consequences are the subject of a separate proceeding and

14   that no one, including his attorney or the Court, can predict to an

15   absolute certainty the effect of his conviction on his immigration

16   status.   Defendant nevertheless affirms that he wants to plead guilty

17   regardless of any immigration consequences that his plea may entail,

18   even if the consequence is automatic removal from the United States.

19                                   FACTUAL BASIS

20              Defendant admits that defendant is, in fact, guilty of the
21   offense to which defendant is agreeing to plead guilty.           Defendant
22   and the USAO agree to the statement of facts provided below and agree
23   that this statement of facts is sufficient to support a plea of
24   guilty to the charge described in this agreement and to establish the
25   Sentencing Guidelines factors set forth in paragraph 12 below but is
26   not meant to be a complete recitation of all facts relevant to the
27   underlying criminal conduct or all facts known to either party that
28   relate to that conduct.

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 1        Beginning on an unknown date, but no later than January 11,

 2   2019, and continuing through March 13, 2020, defendant, a Bureau of

 3   Prisons (“BOP”) Automotive Work Supervisor at the Federal

 4   Correctional Complex in Victorville, California (“FCC Victorville”),

 5   abused his position of trust as a BOP employee to steal government

 6   property valued in excess of $1,000, and to knowingly conceal and

 7   retain stolen government property valued in excess of $1,000,

 8   intending to convert the property to his own use or gain.

 9        Defendant abused his position of trust by directing an inmate

10   worker at the UNICOR factory located at FCC Victorville to

11   manufacture equipment from BOP owned materials, and to refurbish BOP

12   owned equipment, for defendant’s personal use.          Defendant would then

13   take the items manufactured or refurbished by the inmate home with

14   him, sometimes concealing the items in his bag, and in the case of

15   larger equipment, having inmate workers load the equipment on his

16   pickup truck.    Defendant rewarded the inmate worker for manufacturing

17   and refurbishing items requested by defendant by falsely crediting

18   the inmate worker for work that the inmate did not actually perform,

19   among other means of reward.

20        As of March 13, 2020, when federal law enforcement agents

21   executed a search warrant at his personal residence, agents found

22   defendant to be in possession of at least 79 separate types of items

23   that were stolen government property, which defendant knew had been

24   stolen, and concealed and retained at his residence.           This stolen

25   property collectively was valued at approximately $33,600.73.            One of

26   those items was a Starrett 81 piece gage block set valued at over

27   $4,000.   Other items included: multiple drill bits, a Starett 0-inch

28   to 6-inch micrometer set, two Miller Spectrum 2050 Plasma Cutting
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 1   Systems, a Miller Econotig AC/DC Welding Power Source, a RotoZip

 2   RotoSaw, multiple SawZall blades, eight hand-crafted steel flowers,

 3   three hand-crafted steel butterflies, a metal Halloween stencil, two

 4   metal snowmen stencils, two quarter inch steel plate metal cubes, a

 5   metal cart, two diamond plate metal storage boxes with trays, a

 6   fabricated metal two-level wheeled table, two rotating metal stands

 7   (one of which was embossed with defendant’s last name), a three-

 8   legged metal stand, a metal dual cup holder, a metal single cup

 9   holder, an 800-watt inverter, a ratchet strap, a compressor, a fuel

10   assembly, assorted Mac Motor parts, high and low pressure switches,

11   module de-icer defrosters, numerous light fixtures, numerous light

12   bulbs, Rosin core solder, numerous electrodes, numerous welding

13   parts, and numerous metal and electrical parts (e.g., different types

14   of wires, fuses, nuts, bolts, washers, screws, rings, shrink wrap,

15   hose connectors, wire harness clamps, etc.), and assorted metal wire

16   and metal plates.

17        In addition to knowingly and willfully concealing and retaining

18   stolen government property at his residence, defendant sold stolen

19   metal owned by BOP as scrap metal to third parties.           Between January

20   11, 2019 and February 17, 2020, defendant received approximately

21   $3,479.20 for various types of copper wires and tubes that defendant

22   took from BOP and sold to Ecology Recycling.

23                                 SENTENCING FACTORS

24              Defendant understands that in determining defendant’s
25   sentence the Court is required to calculate the applicable Sentencing
26   Guidelines range and to consider that range, possible departures
27   under the Sentencing Guidelines, and the other sentencing factors set
28   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

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 1   Sentencing Guidelines are advisory only, that defendant cannot have

 2   any expectation of receiving a sentence within the calculated

 3   Sentencing Guidelines range, and that after considering the

 4   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 5   be free to exercise its discretion to impose any sentence it finds

 6   appropriate up to the maximum set by statute for the crime of

 7   conviction.

 8              Defendant and the USAO agree to the following applicable
 9   Sentencing Guidelines factors:
10     Base Offense Level:                      6       U.S.S.G. § 2B1.1(a)(2)
11     Greater than $15,000:                   +4    U.S.S.G. § 2B1.1(b)(1)(C)
12     Abuse of Position of Trust              +2              U.S.S.G. § 3B1.3
13   Defendant and the USAO reserve the right to argue that additional

14   specific offense characteristics, adjustments, and departures under

15   the Sentencing Guidelines are appropriate.         In particular, the USAO

16   believes that a two-level upward adjustment for receiving stolen

17   property pursuant to U.S.S.G. § 2B1.1(b)(4) may apply in this case.

18              Defendant understands that there is no agreement as to

19   defendant’s criminal history or criminal history category.

20              Defendant and the USAO reserve the right to argue for a

21   sentence outside the sentencing range established by the Sentencing

22   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

23   (a)(2), (a)(3), (a)(6), and (a)(7).

24                        WAIVER OF CONSTITUTIONAL RIGHTS

25              Defendant understands that by pleading guilty, defendant

26   gives up the following rights:

27              a.   The right to persist in a plea of not guilty.

28              b.   The right to a speedy and public trial by jury.

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 1              c.   The right to be represented by counsel –- and if

 2   necessary have the Court appoint counsel -- at trial.          Defendant

 3   understands, however, that, defendant retains the right to be

 4   represented by counsel –- and if necessary have the Court appoint

 5   counsel –- at every other stage of the proceeding.

 6              d.   The right to be presumed innocent and to have the

 7   burden of proof placed on the government to prove defendant guilty

 8   beyond a reasonable doubt.

 9              e.   The right to confront and cross-examine witnesses

10   against defendant.

11              f.   The right to testify and to present evidence in

12   opposition to the charges, including the right to compel the

13   attendance of witnesses to testify.

14              g.   The right not to be compelled to testify, and, if

15   defendant chose not to testify or present evidence, to have that

16   choice not be used against defendant.

17              h.   Any and all rights to pursue any affirmative defenses,

18   Fourth Amendment or Fifth Amendment claims, and other pretrial

19   motions that have been filed or could be filed.

20                         WAIVER OF APPEAL OF CONVICTION

21              Defendant understands that, with the exception of an appeal
22   based on a claim that defendant’s guilty plea was involuntary, by
23   pleading guilty defendant is waiving and giving up any right to
24   appeal defendant’s conviction on the offense to which defendant is
25   pleading guilty.    Defendant understands that this waiver includes,
26   but is not limited to, arguments that the statute to which defendant
27   is pleading guilty is unconstitutional, and any and all claims that
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 1   the statement of facts provided herein is insufficient to support

 2   defendant’s plea of guilty.

 3                 LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 4                        AND WAIVER OF COLLATERAL ATTACK
 5              Defendant agrees that, provided the Court imposes a total
 6   term of imprisonment on all counts of conviction of no more than 16
 7   months, defendant gives up the right to appeal all of the following:
 8   (a) the procedures and calculations used to determine and impose any
 9   portion of the sentence; (b) the term of imprisonment imposed by the
10   Court; (c) the fine imposed by the Court, provided it is within the
11   statutory maximum; (d) to the extent permitted by law, the
12   constitutionality or legality of defendant’s sentence, provided it is
13   within the statutory maximum; (e) the amount and terms of any
14   restitution order, provided it requires payment of no more than
15   $3,479.20; (f) the term of probation or supervised release imposed by
16   the Court, provided it is within the statutory maximum; and (g) any
17   of the following conditions of probation or supervised release
18   imposed by the Court: the conditions set forth in Second Amended
19   General Order 20-04 of this Court; the drug testing conditions
20   mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and
21   drug use conditions authorized by 18 U.S.C. § 3563(b)(7).
22              Defendant also gives up any right to bring a post-
23   conviction collateral attack on the conviction or sentence, including
24   any order of restitution, except a post-conviction collateral attack
25   based on a claim of ineffective assistance of counsel, a claim of
26   newly discovered evidence, or an explicitly retroactive change in the
27   applicable Sentencing Guidelines, sentencing statutes, or statutes of
28   conviction.   Defendant understands that this waiver includes, but is

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 1   not limited to, arguments that the statute to which defendant is

 2   pleading guilty is unconstitutional, and any and all claims that the

 3   statement of facts provided herein is insufficient to support

 4   defendant’s plea of guilty.

 5                The USAO agrees that, provided (a) all portions of the
 6   sentence are at or above the statutory minimum and at or below the
 7   statutory maximum specified above and (b) the Court imposes a term of
 8   imprisonment of no less than 6 months, the USAO gives up its right to
 9   appeal any portion of the sentence, with the exception that the USAO
10   reserves the right to appeal the amount of restitution ordered if
11   that amount is less than $3,479.20.
12                       RESULT OF WITHDRAWAL OF GUILTY PLEA
13                Defendant agrees that if, after entering a guilty plea
14   pursuant to this agreement, defendant seeks to withdraw and succeeds
15   in withdrawing defendant’s guilty plea on any basis other than a
16   claim and finding that entry into this plea agreement was
17   involuntary, then (a) the USAO will be relieved of all of its
18   obligations under this agreement; and (b) should the USAO choose to
19   pursue any charge that was either dismissed or not filed as a result
20   of this agreement, then (i) any applicable statute of limitations
21   will be tolled between the date of defendant’s signing of this
22   agreement and the filing commencing any such action; and
23   (ii) defendant waives and gives up all defenses based on the statute
24   of limitations, any claim of pre-indictment delay, or any speedy
25   trial claim with respect to any such action, except to the extent
26   that such defenses existed as of the date of defendant’s signing this
27   agreement.
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 1                           EFFECTIVE DATE OF AGREEMENT

 2              This agreement is effective upon signature and execution of

 3   all required certifications by defendant, defendant’s counsel, and an

 4   Assistant United States Attorney.

 5                               BREACH OF AGREEMENT

 6              Defendant agrees that if defendant, at any time after the
 7   signature of this agreement and execution of all required
 8   certifications by defendant, defendant’s counsel, and an Assistant
 9   United States Attorney, knowingly violates or fails to perform any of
10   defendant’s obligations under this agreement (“a breach”), the USAO
11   may declare this agreement breached.       All of defendant’s obligations
12   are material, a single breach of this agreement is sufficient for the
13   USAO to declare a breach, and defendant shall not be deemed to have
14   cured a breach without the express agreement of the USAO in writing.
15   If the USAO declares this agreement breached, and the Court finds
16   such a breach to have occurred, then: (a) if defendant has previously
17   entered a guilty plea pursuant to this agreement, defendant will not
18   be able to withdraw the guilty plea, and (b) the USAO will be
19   relieved of all its obligations under this agreement.
20              Following the Court’s finding of a knowing breach of this
21   agreement by defendant, should the USAO choose to pursue any charge
22   that was either dismissed or not filed as a result of this agreement,
23   then:
24              a.   Defendant agrees that any applicable statute of
25   limitations is tolled between the date of defendant’s signing of this
26   agreement and the filing commencing any such action.
27              b.   Defendant waives and gives up all defenses based on
28   the statute of limitations, any claim of pre-indictment delay, or any

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 1   speedy trial claim with respect to any such action, except to the

 2   extent that such defenses existed as of the date of defendant’s

 3   signing this agreement.

 4              c.   Defendant agrees that: (i) any statements made by

 5   defendant, under oath, at the guilty plea hearing (if such a hearing

 6   occurred prior to the breach); (ii) the agreed to factual basis

 7   statement in this agreement; and (iii) any evidence derived from such

 8   statements, shall be admissible against defendant in any such action

 9   against defendant, and defendant waives and gives up any claim under

10   the United States Constitution, any statute, Rule 410 of the Federal

11   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

12   Procedure, or any other federal rule, that the statements or any

13   evidence derived from the statements should be suppressed or are

14   inadmissible.

15          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

16                                OFFICE NOT PARTIES
17              Defendant understands that the Court and the United States
18   Probation and Pretrial Services Office are not parties to this
19   agreement and need not accept any of the USAO’s sentencing
20   recommendations or the parties’ agreements to facts or sentencing
21   factors.
22              Defendant understands that both defendant and the USAO are
23   free to: (a) supplement the facts by supplying relevant information
24   to the United States Probation and Pretrial Services Office and the
25   Court, (b) correct any and all factual misstatements relating to the
26   Court’s Sentencing Guidelines calculations and determination of
27   sentence, and (c) argue on appeal and collateral review that the
28   Court’s Sentencing Guidelines calculations and the sentence it

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 1   chooses to impose are not error, although each party agrees to

 2   maintain its view that the calculations in paragraph 12 are

 3   consistent with the facts of this case.        While this paragraph permits

 4   both the USAO and defendant to submit full and complete factual

 5   information to the United States Probation and Pretrial Services

 6   Office and the Court, even if that factual information may be viewed

 7   as inconsistent with the facts agreed to in this agreement, this

 8   paragraph does not affect defendant’s and the USAO’s obligations not

 9   to contest the facts agreed to in this agreement.

10              Defendant understands that even if the Court ignores any
11   sentencing recommendation, finds facts or reaches conclusions
12   different from those agreed to, and/or imposes any sentence up to the
13   maximum established by statute, defendant cannot, for that reason,
14   withdraw defendant’s guilty plea, and defendant will remain bound to
15   fulfill all defendant’s obligations under this agreement.           Defendant
16   understands that no one –- not the prosecutor, defendant’s attorney,
17   or the Court –- can make a binding prediction or promise regarding
18   the sentence defendant will receive, except that it will be within
19   the statutory maximum.
20                             NO ADDITIONAL AGREEMENTS
21              Defendant understands that, except as set forth herein,
22   there are no promises, understandings, or agreements between the USAO
23   and defendant or defendant’s attorney, and that no additional
24   promise, understanding, or agreement may be entered into unless in a
25   writing signed by all parties or on the record in court.
26   ///
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 2
                       Exhibit A
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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               ED CR No.

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 641: Concealment and
                                             Retention of Stolen Government
13   KEVIN SUMMERS,                          Property in Excess of $1,000]
14             Defendant.

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16         The Acting United States Attorney charges:
17                                 [18 U.S.C. § 641]
18         On or about March 13, 2020, in San Bernardino County, within the
19   Central District of California, and elsewhere, defendant KEVIN
20   SUMMERS knowingly and willfully concealed and retained, with the
21   intent to convert to his own use and gain, a thing of value of the
22   United States Bureau of Prisons, a department and agency of the
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 1   United States, having a value in excess of $1,000, namely a Starrett

 2   81 piece gage block set valued at over $4,000, which defendant

 3   SUMMERS knew had been stolen, purloined, and converted.

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 5                                          STEPHANIE S. CHRISTENSEN
                                            Acting United States Attorney
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 8                                          SCOTT M. GARRINGER
                                            Assistant United States Attorney
 9                                          Chief, Criminal Division
10                                          SEAN D. PETERSON
                                            Assistant United States Attorney
11                                          Riverside Branch Office
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